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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

            THIRD MONTHLY FEE STATEMENT OF JORDAN & ORTIZ, P.C. FOR
             ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
                CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                   FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

    Name of Applicant:             Jordan & Ortiz, P.C. (“J&O”)
    Applicant’s Role in Case:      Co-Counsel to Debtor
    Date Order of Appointment January 20, 2023 (Dkt #105)
    Signed:
                                       Beginning of Period             End of Period
    Time Period Covered in         02/01/2023                   02/28/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                     $40,964.001
                                                                (80% of $51,205.00)
    Total Reimbursable Expenses Requested in this Statement: $22.442
               Summary Attorney Fees for the Period Covered by this Statement
    Attorneys Fees in this Statement:                           $50,580.00
    Total Actual Attorneys Hours Covered by this Statement: 84.30
    Average Hourly Rate for Attorneys:                          $600.00
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:          $625.00
    Total Actual Paraprofessional Hours Covered by this 2.50
    Statement:
    Average Hourly Rate for Paraprofessionals:                  $250.00




1
  Counsel is holding $61,791.01 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.


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               In accordance with the Order Granting Motion for Entry of an Order
               Establishing    Procedures     for   Interim     Compensation      and
               Reimbursement of Expenses for Chapter 11 Professionals [ECF #106],
               each party receiving notice of the monthly fee statement will have 14
               days after service of the monthly fee statement to object to the
               requested fees and expenses. Upon the expiration of such 14 day period,
               the Debtor is authorized to pay the Professional an amount of 80% of
               the fees and 100% of the expenses requested in the applicable monthly
               fee statement.

                                    RELIEF REQUESTED

       1.      This is Jordan & Ortiz, P.C.’s (“J&O”) second monthly fee statement for

compensation (the “Fee Statement”) for the period of February 1, 2023 through February 28, 2023

(the “Fee Period”) pursuant to the Order Granting Motion for Entry of an Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11

Professionals [ECF #106] (the “Interim Compensation Order”). J&O is filing its first amended

monthly fee statement for compensation showing that J&O requests: (a) allowance of

compensation in the amount of $40,964.00 (80% of $51,205.00) for actual, reasonable, and

necessary professional services rendered to the Debtor by J&O and (b) reimbursement of actual,

reasonable, and necessary costs and expenses in the amount of $22.44 incurred by J&O during the

Fee Period. By this Fee Statement, J&O seeks interim allowance of compensation for services

rendered and reimbursement of expenses incurred solely in connection with its work performed

on behalf of the Debtor.

              SERVICES RENDERED AND DISBURSEMENTS INCURRED

       2.      Attached above as Exhibit “A” is the Fee Statement for the period February 1, 2023

through February 28, 2023, which includes a summary of professionals who rendered services to

the Debtor during the Fee Period, including each person’s billing rate and the fees incurred during

the Fee Period summarized by task code and the itemized schedule of expenses within each



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category, including description, incurred with the amounts for which reimbursement is requested.

Attached as Exhibit “B” is a Task Code breakdown by Attorney and Paralegal.

                         NOTICE AND OBJECTION PROCEDURES

       3.      Pursuant to the Interim Compensation Order notice of this Fee Statement has been

provided to:

               a. Debtor Counsel, Crowe & Dunlevy, PC, 2525 McKinnon St, Ste. 425, Dallas,
                  TX 75201 (Attn: Vickie L. Driver, dallaseservice@crowedunlevy.com)

               b. U.S. Trustee c/o/ Ha Minh Nguyen and Jayson ruff, Office of the United States
                  Trustee 515 Rusk St Ste 3516 Houston, TX 77002, ha.nguyen@usdoj.gov,
                  jayson.b.ruff@usdoj.gov

               c. Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer & Feld
                  LLP, One Bryant Park, New York, NY 10036 (Attn: David M. Zensky, Marty
                  L. Brimmage, Jr., Sara L. Brauner and Melanie A. Miller;
                  dzensky@akingump.com,                         mbrimmage@akingump.com,
                  sbrauner@akingump.com, melanie.miller@akingump.com)

               d. Connecticut Plaintiffs, (a) Koskoff & Bieder PC, 350 Fairfield Avenue,
                  Bridgeport, CT 06604 (Attn: Alinor Sterling, ASterling@koskoff.com) and
                  (b) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the
                  Americas, New York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                  kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e. Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001 Fannin Street, Suite
                  2700,      Houston,      TX      77002    (Attn:    Avi      Moshenberg,
                  avi.moshenberg@mhllp.com) and (b) Chamberlain, Hrdlicka, White,
                  Williams & Aughtry, PC, 1200 Smith Street, Suite 1400, Houston, TX 77002
                  (Attn: Jarrod B. Martin, Jarrod.Martin@chamberlainlaw.com)

               f. All parties that receive ECF notifications

In light of the nature of the relief requested herein, J&O submits that no further or other notice is

required.

       4.      Pursuant to the Interim Compensation Order (ECF #106), the Notice Parties and

parties in interest have 14 days after service of the Monthly Fee Statement to object to the requested

fees and expenses. If any Notice Party, or any other party in interest, objects to a Retained



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Professional’s Monthly Fee Statement, it must serve on the affected Retained Professional and

each of the other Notice Parties a written objection (the “Objection”) so that it is received on or

before the Objection Deadline. Thereafter, the objecting party and the affected Retained

Professional may attempt to resolve the Objection on a consensual basis. If the parties are unable

to reach a resolution of the Objection within 14 days after service of the Objection, or such later

date as may be agreed upon by the objecting party and the affected Retained Professional, the

affected Retained Professional may either: (i) file a response to the Objection with the Court,

together with a request for payment of the difference, if any, between the Maximum Payment and

the Authorized Payment made to the affected Retained Professional (the “Incremental Amount”)

and schedule such matter for hearing on at least 14 days’ notice; or (ii) forego payment of the

Incremental Amount until the next interim or final fee application hearing, at which time the Court

will consider and dispose of the Objection if requested by the affected Retained Professional.

Failure by a Notice Party, or any other party in interest, to object to a Monthly Fee Statement shall

not constitute a waiver of any kind nor prejudice that party’s right to object to any Interim Fee

Application (as defined below) subsequently filed by a Retained Professional.

         5.    Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. J&O reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein,

or correct and erroneous or errors set out herein. Subsequent Monthly Fee Statements will be filed

in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Interim Compensation

Order.




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       WHEREFORE, pursuant to the Interim Compensation Order, and pending the expiration

of the objection deadline, if no objections to the Fee Statement are received, J&O respectfully

requests: (a) that it be allowed on an interim basis (i) $40,964.00 (80% of fees in the amount of

$51,205.00) for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and (ii) reimbursement of $22.44 for reasonable, actual and necessary

expenses incurred during the Fee Period; (b) that the Debtor be authorized and directed to

immediately pay to J&O the amount of $40,986.44 which is equal to the sum of 80% of J&O’s

fees and 100% of J&O’s expenses incurred during the Fee Period, and (c) and granting such other

and further relief as the Court may deem just and proper.

Dated: March 13, 2023

                                             /s/ Shelby A. Jordan
                                             SHELBY A. JORDAN
                                             State Bar No. 11016700
                                             S.D. No. 2195
                                             ANTONIO ORTIZ
                                             State Bar No. 24074839
                                             S.D. No. 1127322
                                             Jordan & Ortiz, P.C.
                                             500 North Shoreline Blvd., Suite 900
                                             Corpus Christi, TX 78401
                                             Telephone: (361) 884-5678
                                             Facsimile: (361) 888-5555
                                             Email: sjordan@jhwclaw.com
                                                     aortiz@jhwclaw.com
                                             Copy to: cmadden@jhwclaw.com
                                             CO-COUNSEL FOR DEBTOR




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                                CERTIFICATE OF SERVICE

I certify that on March 13, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a. Debtor Counsel, Crowe & Dunlevy, PC, 2525 McKinnon St, Ste. 425, Dallas,
                  TX 75201 (Attn: Vickie L. Driver, dallaseservice@crowedunlevy.com)

               b. U.S. Trustee c/o/ Ha Minh Nguyen and Jayson ruff, Office of the United States
                  Trustee 515 Rusk St Ste 3516 Houston, TX 77002, ha.nguyen@usdoj.gov,
                  jayson.b.ruff@usdoj.gov

               c. Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer & Feld
                  LLP, One Bryant Park, New York, NY 10036 (Attn: David M. Zensky, Marty
                  L. Brimmage, Jr., Sara L. Brauner and Melanie A. Miller;
                  dzensky@akingump.com,                         mbrimmage@akingump.com,
                  sbrauner@akingump.com, melanie.miller@akingump.com)

               d. Connecticut Plaintiffs, (a) Koskoff & Bieder PC, 350 Fairfield Avenue,
                  Bridgeport, CT 06604 (Attn: Alinor Sterling, ASterling@koskoff.com) and
                  (b) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the
                  Americas, New York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                  kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e. Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001 Fannin Street, Suite
                  2700,      Houston,      TX      77002    (Attn:    Avi      Moshenberg,
                  avi.moshenberg@mhllp.com) and (b) Chamberlain, Hrdlicka, White,
                  Williams & Aughtry, PC, 1200 Smith Street, Suite 1400, Houston, TX 77002
                  (Attn: Jarrod B. Martin, Jarrod.Martin@chamberlainlaw.com)

               f. All parties that receive ECF notifications


                                              /s/ Shelby A. Jordan
                                                  Shelby A. Jordan




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                                  EXHIBIT “A”

              JORDAN & ORTIZ, P.C. FEBRUARY INVOICE FOR PERIOD
                 FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023



                SUMMARY OF PREVIOUS UNPAID INVOICES

Invoice No.     Month      Invoice Date Amount        Credits       Balance Due
                Billed                  Billed        Applied
922199          December   1/27/23      $77,869.15    -$62,396.65   $15,472.50
922213          January    2/15/23      $28,227.50    -$22,602.50   $5,625.00

TOTALS                                  $106,096.65   -$84,999.15   $21,097.50




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       JONES, ALEX                                                                                                     March 02, 2023
                                                                                                   Account No:         5481-002000M
                                                                                                 Statement No:                922268
       Bankruptcy




                                                                                                                            Expenses
B400    Bankruptcy-Related Advice                                                                             240.00            0.00




                                               Your trust account #1 balance is

                     Opening Balance                                                                 $84,393.51
                     3/10/23 Payment of January Fees (80% of fees and 100% of expenses)             -$22,602.50
                     Closing Balance                                                                 $61,791.01




                                    "The entry NIC signifies time spent for which there will be no charge.*
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                                     EXHIBIT “B”

                                     TASK CODES

CATEGORIES                                  ATTORNEY TIME    PARALEGAL TIME

B110 Case Administration                              7.7
B120 Asset Analysis and Recovery                      1.5
B130 Asset Disposition                               0.30
B140 Relief from Stay/Adequate
Protection                                           0.20
B150 Meetings of & Communications with
Creditors
B160 Fee/Employment Applications                      2.5          2.5
B170 Fee/Employment Objections                        1.7
B180 Avoidance Action Analysis                       2.80
B185 Assumption/Rejection of Executory
Contracts
B190 Other Contested Matters                         39.1
B195 Non-Working Travel
B210 Business Operations                             26.8
B220 Employee Benefits/Pensions
B230 Financing/Cash Collections
B240 Tax Issues
B250 Real Estate
B260 Board of Directors Matters
B310 Claims Administration and
Objections
B320 Plan and Disclosure Statement                   1.30
B410 General Bankruptcy
Advice/Opinions                                      0.40
B420 Restructurings
TOTALS:                                              84.30         2.5




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